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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                    HAMMOND DIVISION

  UNITED STATES OF AMERICA,                    )
                                               )
                 Plaintiff,                    )
                                               )
         v.                                    )      Cause No. 2:15-cr-72
                                               )
  ANTON LAMONT JAMES, JR.,                     )
                                               )
                 Defendant.                    )

                              FINDINGS AND RECOMMENDATION
                                 OF THE MAGISTRATE JUDGE
                                   UPON A PLEA OF GUILTY

  TO:    THE HONORABLE PHILIP P. SIMON
         UNITED STATES DISTRICT COURT

         Upon defendant’s request to enter a plea of guilty pursuant to Federal Rule of Criminal

  Procedure 11, this matter came on for hearing before the Honorable Andrew P. Rodovich, United

  States Magistrate Judge, on September 8, 2017, with the written consents of the defendant,

  counsel for the defendant, and counsel for the United States of America.

         The hearing on defendant’s plea of guilty was in full compliance with Rule 11, before the

  Magistrate Judge in open court and on the record.

         In consideration of that hearing and the statements made by the defendant under oath on

  the record, and in the presence of counsel, the remarks of Assistant United States Attorney Dean

  R. Lanter, and of Attorneys David E. Vandercoy and Scott J. Frankel, counsel for the defendant,

         I FIND as follows:

              1. that the defendant understands the nature of the charge against him to which the

                 plea is offered;
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             2. that the defendant understands his right to trial by jury, to persist in his plea of not

                guilty, to the assistance of counsel at trial, to confront and cross-examine adverse

                witnesses, and his right against compelled self-incrimination;

             3. that the defendant understands what the maximum possible sentence is, including

                the effect of the supervised release term, and the defendant understands that the

                Probation Department will prepare a pre-sentence report based upon the

                sentencing guidelines but that the court may depart from those guidelines under

                some circumstances;

             4. that the plea of guilty by the defendant has been knowingly and voluntarily made

                and is not the result of force or threats or of promises;

             5. that the defendant is competent to plead guilty;

             6. that the defendant understands that his answers may later be used against him in a

                prosecution for perjury or false statement;

             7. that there is a factual basis for the defendant’s plea; and further,

         I RECOMMEND that the court accept the defendant’s plea of guilty to the offense

  charged in Count 1 of the Third Superseding Indictment and have sentence imposed. A

  presentence report has been ordered.

         ENTERED this 8th day of September, 2017.


                                                                /s/ Andrew P. Rodovich
                                                                United States Magistrate Judge




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